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 2
 3                          UNITED STATES DISTRICT COURT
 4                       EASTERN DISTRICT OF WASHINGTON
 5
 6 UNITED STATES OF AMERICA,                           No. CR-13-012-RMP-1

 7                       Plaintiff,                    ORDER GRANTING STIPULATED
 8 vs.                                                 MOTION TO MODIFY
 9 GREGORY D. JEFFREYS,
10                       Defendant.
11         Before the court is the “Stipulated Motion to Modify Order Setting
12   Condition of Release.”        ECF No. 53.     However, no conditions of release have
13   been set for Defendant, as he has been detained. Instead, Defendant was ordered to
14   have no contact with Co-Defendants or the over-100 witnesses, unless there was
15   further order of the court.
16         The United States and Defendant have conferred, agreed, and stipulated
17   Defendant can contact a number of family members and others; provided,
18   however, Defendant does not contact other alleged victims or witnesses through
19   the below-listed individuals.        In addition, the contact with the below-listed
20   individuals shall not be case-related.
21         The agreed Motion, ECF No. 53, is GRANTED. Defendant may have
22   contact with the following individuals; provided that the contact is non-case related
23   and does not involve contacting other alleged victims or witnesses:
24         Spouse Kimberly Jeffreys;
25         No. 42, R. B.
26         No. 65, S. G.
27         No. 73, son J. Jeffreys,
28         No. 93, D. S.



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 1        No. 95, J. S.
 2        (the names are more fully identified in the Stipulation.)
 3        IT IS SO ORDERED.
 4        DATED February 7, 2013.
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 6                              S/ CYNTHIA IMBROGNO
                          UNITED STATES MAGISTRATE JUDGE
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